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                   Exhibit A
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                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF CALIFORNIA


     SYLVIA AHN,                         )
     Individually and as Successor-in-   )
     Interest to the Estate of
     Choung Woong Ahn,                   )
                                         )
                            Plaintiff,   )    Case No. 1:22-cv-00586
                                         )
                      v.                 )    SECOND AMENDED
                                              COMPLAINT AND DEMAND
                                         )    FOR JURY TRIAL
     GEO GROUP, INC.; and UNITED         )
     STATES IMMIGRATION AND              )
     CUSTOMS ENFORCEMENT,                )
                                         )
                           Defendants.   )




     COMPLAINT AND REQUEST FOR RELIEF
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    SECOND AMENDED COMPLAINT AND REQUEST FOR RELIEF




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 1                                        Introduction
 2
 3      1.        This is a survival, wrongful death, and disability discrimination action

 4           for compensatory and punitive damages arising out of the torture and

 5           preventable death by suicide of Choung Woong Ahn inside a solitary

 6           confinement cell at the Mesa Verde ICE Processing Facility (“Mesa

 7           Verde”).

 8                                           Parties

 9      2.        Plaintiff Sylvia Ahn (“Plaintiff”) is the natural and legal daughter of

10           the decedent, Choung Woong Ahn (“Mr. Ahn”), and an adult resident of

11           Houston, Texas. Plaintiff is the Successor-in-Interest of the Estate of

12           Choung Woong Ahn. Plaintiff brings this action Individually and on behalf

13           of the estate of Choung Woong Ahn.

14      3.        Decedent Choung Woong Ahn died while incarcerated at Mesa Verde

15           in Bakersfield, California on May 17, 2020. Prior to his imprisonment

16           Choung Woong Ahn was a resident of Oakland, California.

17      4.        At all times relevant to the Complaint, Defendant GEO Group, Inc.

18           (“GEO Group”) is and was a Florida corporation with its principal street

19           address located at 4955 Technology Way, Boca Raton, FL 33431.

20      5.        At all times relevant to the complaint GEO Group owned and operated

21           Mesa Verde in Bakersfield, CA pursuant to a contractual arrangement with



     COMPLAINT AND REQUEST FOR RELIEF           1
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22           government parties including, at times, the City of McFarland and U.S.

23           Immigration and Customs Enforcement.

24      6.        Defendant United States Immigration and Customs Enforcement

25           (“ICE”) is a federal law enforcement agency within the Department of

26           Homeland Security (“DHS”). ICE is responsible for the administrative

27           enforcement of immigration laws, including the detention and removal of

28           immigrants. Enforcement and Removal Operations (“ERO”), a division of

29           ICE, manages and oversees the immigration detention system.

30

31                                   Jurisdiction and Venue

32      7.        This Court has subject matter jurisdiction over Plaintiff’s claims under

33           Section 504 of the Rehabilitation Act and the Alien Tort Statute (“ATS”)

34           pursuant to U.S.C § 1331 (federal question jurisdiction). This Court also has

35           subject matter jurisdiction under the Federal Tort Claims Act (“FTCA”).

36      8.        Venue is proper in this District under 28 U.S.C. § 1391(b). A

37           substantial part of the events or omissions giving rise to the claims occurred

38           in the Eastern District of California.

39      9.        This Court has personal jurisdiction over GEO Group because the

40           corporation regularly conducts business in California and has sufficient

41           minimum contacts with California.



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42        10. Plaintiff requests that this Court exercise supplemental jurisdiction over her

43              California state law claims pursuant to 28 U.S.C. § 1367.

44                                       Factual Allegations

45   I.              Mr. Ahn’s Detention and Death

46        11.        This case arises out of the torture and preventable death by suicide of

47              Mr. Ahn, a longtime US resident who was 74 years old at the time of his

48              death.

49        12.        Mr. Ahn was born in South Korea and entered the United States in

50              1988 as a Lawful Permanent Resident (“LPR”). He lived in the San

51              Francisco Bay Area until the time of his arrest and detention, maintaining

52              LPR status for over three decades, until his death.

53        13.        He was confined to state prison for years. During this time Mr. Ahn

54              developed severe depression and other mental health conditions and

55              attempted suicide at least three times, in 2014, 2015, and 2019.

56        14.        Although the State of California determined that Mr. Ahn should be

57              released to live in the community and granted his early release from prison

58              on parole, on or about February 21, 2020, ERO arrested Mr. Ahn at the




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59             Solano State Prison in Vacaville, California and took him into civil custody.

60             ERO then transported Mr. Ahn to Mesa Verde.1

61       15.        Mesa Verde is a federal immigration detention facility.

62       16.         On information and belief, ICE was the landowner of Mesa Verde at all

63             times relevant to this complaint.

64       17.        But, like many federal immigration detention facilities, Mesa Verde is

65             not operated by ICE but rather by a private contractor. In this case, in 2015,

66             ICE contracted GEO Group, through the City of McFarland, to operate Mesa

67             Verde.

68       18.        It was a questionable decision to say the least. Even at the time, GEO

69             Group had poor reputation for managing private prisons and detention

70             centers. Its facilities were known for “inadequate medical care,

71             understaffing, violence, and other issues.”2 In 2012 alone, two detainees died

72             while in custody in GEO Group facilities because they received inadequate




     1
       Other courts have noted the lack of foundation undergirding current immigration
     detention practices: “…[I]t would appear we are spending millions of our national
     treasure to lock up thousands of people who might better be released on strict bail
     conditions without impairing the safety of our citizens or the operations of our
     government.” Savino v. Souza, 459 F. Supp. 3d 317, 322 (D. Mass. 2020).
     2
       Fatal Neglect: How ICE Ignores Deaths in Detention, ACLU, Detention Watch
     Network & National Immigrant Justice Center at 6 (Feb. 2016), available at
     https://www.aclu.org/sites/default/files/field_document/fatal_neglect_acludwnnijc.
     pdf [hereinafter Fatal Neglect].

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73             medical care.3 A 2012 report by the Department of Justice about a GEO

74             Group-operated prison in Missouri identified “systemic, egregious practices”

75             at the facility, including inadequate medical care.4

76       19.         GEO Group lived up to its reputation after it gained the contract to

77             operate Mesa Verde. For example, a 2016 report stated: “Although … GEO

78             ha[s] gone to great lengths to hide information about their medical staffing,

79             the limited information available does indicate that there are frequent and

80             long-term vacancies for contractually-required positions, creating a

81             dangerous administrative limbo which allows facilities to pass inspection

82             while also saving money on personnel costs.”5 A 2018 investigation by an

83             inspector general of the nearby Adelanto Detention Center, also operated by

84             GEO Group, found nooses hung in cells.6 To date, Mesa Verde has been the




     3
       Id. at 7, 16.
     4
       David M. Reutter, GEO Group Pulls out of Mississipppi Prisons, Prison Legal
     News (Nov. 15, 2013), available at
     https://www.prisonlegalnews.org/news/2013/nov/15/geo-group-pulls-out-of-
     mississippi-prisons/.
     5
       A Toxic Relationship: Private Prisons and U.S. Immigration Detention, Detention
     Watch Network, at 7 (Dec. 2016), available at
     https://www.detentionwatchnetwork.org/sites/default/files/reports/A%20Toxic%20
     Relationship_DWN.pdf.
     6
       Miriam Jordan, Inspectors Find Nooses in Cells at Immigration Detention
     Facility, N.Y. Times (Oct. 2, 2018), available at
     https://www.nytimes.com/2018/10/02/us/oig-inspector-general-adelanto-
     immigrants-nooses.html.

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85             subject of numerous lawsuits and federal investigations concerning the

86             substandard medical and mental health treatment provided at the facility.7

87       20.         Even so, ICE continued to retain GEO Group to run Mesa Verde, and

88             even renewed their contract in 2019.

89       21.        ICE also continued to have some authority over GEO Group’s

90             operation of Mesa Verde—though its authority did not do detainees much

91             good. For example, ICE had the authority to set substantive standards to

92             govern the conditions at GEO, and to enforce those standards through

93             inspections. But ICE’s inspections were perfunctory, and checked GEO

94             Group’s policies rather than its actual practices. GEO Group was anyways

95             notified of inspections in advance, giving it an opportunity to cover up or

96             obscure issues at its facilities and so pass inspection without having to fix

97             problems.




     7
       “Indeed, the documentary evidence shows that the defendants have avoided
     widespread testing of staff and detainees at the facility, not for lack of tests, but for
     fear that positive test results would require them to implement safety measures that
     they apparently felt were not worth the trouble. This conduct by the defendants has
     put the detainees at serious risk of irreparable harm. The defendants have also
     jeopardized the safety of their own employees. And they have endangered the
     community at large.” Zepeda Rivas v. Jennings, Case No. 20-cv-02731-VC, ECF
     500 at p. 1 (N.D. Cal. Aug. 6, 2020).

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 98       22.        The inspections were also generally unreliable, as inspections by

 99             different divisions of ICE could come to inconsistent conclusions.8 Even

100             worse, across multiple facilities, GEO Group regularly passed ICE

101             inspection even when its facilities were dangerous and inhumane.9

102       23.        For example, three inspections in 2016 and 2017 concluded that GEO

103             Group met all standards at Mesa Verde related to suicide prevention and

104             intervention—a conclusion that, given what happened to Mr. Ahn, is highly

105             doubtful.

106       24.         To sum up, when ICE picked Mr. Ahn up from Solano prison and

107             deposited him at Mesa Verde in February 2020, the agency was entrusting

108             his health, safety, and wellbeing to GEO Group: a private contractor with a

109             track-record of poor performance, operating a very dangerous and risky kind

110             of facility, under virtually no oversight.

111       25.        That trust was undeserved. When Mr. Ahn entered Mesa Verde in

112             February 2020, he was only offered a cursory mental health screening and




      8
        Lives in Peril: How Ineffective Inspections Make ICE Complicit in Immigration
      Detention Abuse, The Immigration Detention Transparency and Human Rights
      Project, at 13 (Oct. 2015), available at
      https://immigrantjustice.org/sites/default/files/content-type/research-
      item/documents/2017-03/THR-Inspections-FOIA-Report-October-2015-
      FINAL.pdf
      9
        Id. at 4; Fatal Neglect at 3.

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113            his records were not examined to determine the extent of his mental illnesses

114            or identify past suicidal ideation and past suicide attempts.

115      26.        As Mr. Ahn remained at Mesa Verde, staff realized what would have

116            been apparent from his records: that Mr. Ahn was severely depressed,

117            experienced regular suicidal ideation, and had attempted suicide three times

118            in detention settings.

119      27.        On March 12, 2020, Mr. Ahn reported experiencing shortness of breath

120            and chest pain, and was admitted to the emergency department of Mercy

121            Hospital in Bakersfield, California. He received emergency surgery to

122            remove a mass on his lung.

123      28.        At the time Mr. Ahn was distressed and despondent, believing that he

124            had been diagnosed with lung cancer.

125      29.        The hospital requested that Mr. Ahn return shortly for follow up care

126            and to confirm the biopsy results. But ICE delayed authorizing and

127            scheduling the appointment for months.

128      30.        Mr. Ahn never received the follow up treatment or biopsy results.

129      31.        Then, in March 2020, the COVID-19 pandemic hit California. The

130            CDC warned immediately, from the very beginning of the pandemic, that

131            congregate settings created a high risk for COVID-19 transmission. Mesa




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132            Verde was undeniably one such setting: it housed detainees in four 100-

133            person dorms, and had virtually no possibility for social distancing.

134      32.        The need for a COVID-19 plan or pandemic protocols was immediate

135            and serious. But neither ICE nor GEO Group took even the minimum steps

136            that the situation required. In fact, by July 2020, there was still no facility-

137            specific plan in place at Mesa Verde.

138      33.        ICE also declined to exercise even its most basic kind of authority—to

139            release detainees who were at risk and posed no threat to public safety—in

140            order to reduce the population density at Mesa Verde and protect the health

141            of the detainees that remained there. As the pandemic progressed, Mesa

142            Verde remained far too full, and far too lax about detainee safety.

143      34.        Detainees noticed, and were afraid. On April 10, Mr. Ahn joined a

144            peaceful hunger strike occurring in his dormitory and began refusing meals

145            to protest the conditions at Mesa Verde.

146      35.        In April 2020, during a mental health appointment, Mr. Ahn reported

147            to a psychologist employed by GEO Group that he had feelings of sadness

148            and low energy, as well as trouble sleeping. The psychologist concluded that

149            Mr. Ahn had an unspecified depressive disorder and referred him to a

150            psychiatrist.




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151        36.        Later that same month, Mr. Ahn informed Mesa Verde medical staff

152              that he had attempted suicide at least three different times while in custody,

153              in 2014, 2015, and 2019.

154        37.        On April 30, 2020, Mr. Ahn reported to mental health staff in a “talk

155              therapy” session that his depression was “6-7/10 (10 being the worst).” He

156              expressed feelings of anxiety and not “want[ing] to live in this life.”

157        38.        Mr. Ahn continued to become more distressed and despondent because

158              of the conditions inside Mesa Verde, and in particular, their now well-

159              documented and dangerous mishandling of the COVID-19 pandemic.10

160        39.        Mr. Ahn submitted at least three requests for release to ICE through his

161              lawyers. Each time, ICE declined to release this 74-year-old detainee with




      10
        See, e.g., Joint Statement by the detained people at Mesa Verde (Aug. 6, 2020),
      https://www.centrolegal.org/wp-content/uploads/2020/08/MV-COVID-19-
      Outbreak-Statement.pdf (Mesa Verde detainees reporting that as of early August
      2020, “new people continued to arrive in our dorms, straight from prisons with
      massive COVID-19 outbreaks, without being quarantined or even tested for the
      virus”); Zepeda Rivas v. Jennings, No. 20-cv-02731-VC, 2020 WL 3055449 at *4
      (N.D. Cal. June 9, 2020) (ordering ICE to close intake at Mesa Verde and
      commenting that ICE’s conduct “since the pandemic began ha[s] shown beyond
      doubt that ICE cannot currently be trusted to prevent constitutional violations at
      [Mesa Verde] without judicial intervention.” and further finding that ICE did not
      regularly quarantine or test detainees transferred from COVID-19-infected prisons
      upon intake at Mesa Verde, but rather brought them directly into dormitories);
      Zepeda Rivas v. Jennings, No. 20-CV-02731-VC, 2020 WL 4554646, at *1 (N.D.
      Cal. Aug. 6, 2020) (ordering ICE to stop incoming transfers to Mesa Verde).

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162            serious mental illness and multiple co-morbidities, including diabetes and

163            heart disease.

164      40.         On May 11, 2020, Mr. Ahn wept and then fell into a despondent

165            silence upon learning that his latest request for release had been denied,

166            commenting to others that he would never get out of detention.

167      41.         On May 12, 2020, Mr. Ahn was admitted to Mercy Hospital in

168            Bakersfield due to chest pain.

169      42.         Throughout his detention at Mesa Verde, Mr. Ahn made several

170            medical requests due to persistent pain in his feet, his shoulder, and his

171            chest.

172      43.         Further, his diabetes and high blood pressure medication were not

173            refilled in a timely manner, and he made several complaints regarding this

174            lack of proper treatment.

175      44.         On the day Mr. Ahn was hospitalized, he was struggling to breathe,

176            complaining of chest pain, and had liquid coming out of his nose.

177      45.         Mr. Ahn returned to Mesa Verde on May 14, 2020, after receiving a

178            negative COVID-19 test.

179      46.         Despite the fact that he had tested negative, Mr. Ahn was placed in a

180            solitary isolation unit upon his return with no legitimate purpose identified

181            for this isolation.



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182      47.        Despite Mr. Ahn’s current mental state, diagnosed depression, and past

183            suicide attempts, he was placed in a solitary cell with a “tie off point” and

184            bed sheet, and no human contact.

185      48.        The availability of a tie off point and bed sheet or other rope-like

186            device are high risk factors for suicide attempts when paired with the mental

187            health diagnosis and suicide-attempt history of Mr. Ahn.

188      49.        Even if GEO Group’s staff had reason to suspect that Mr. Ahn had

189            contracted COVID, his placement in solitary confinement would have been

190            unwarranted and dangerous, particularly for someone with Mr. Ahn’s mental

191            health conditions and history of suicidality. At the time, public health

192            experts warned against ICE’s “practice . . . of locking people in conditions .

193            . . equivalent to punitive solitary confinement . . . as a form of ‘quarantine’

194            or ‘medical isolation’” in response to the COVID-19 pandemic, as it

195            subjected detained people to “significant risk of grave harm (including harm

196            that may be permanent, even fatal).” Citing “widely accepted” scientific

197            consensus, experts explained that “ICE detainees with pre-existing mental

198            illness or emotional impairment are especially at risk”; when “placed in

199            conditions that are the equivalent of solitary confinement” they are

200            “especially likely to suffer an exacerbation of their psychiatric disability,”

201            rendering them “even more medically and psychologically vulnerable.”



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202      50.         Experts concluded that solitary confinement is by design an

203            “inappropriate, ill-conceived, and counter-productive” tool for quarantine.

204            Among other things, detainees held in solitary often lack access to adequate

205            medical care and hygiene supplies “even more acute[ly]” than in the general

206            population, surfaces may be unsanitary, and without the use of negative

207            pressure rooms, the virus can still easily spread through airborne

208            transmission. As such, this practice “very likely exacerbate[s] rather than

209            limit[s] or alleviate[s] the spread of COVID-19” in ICE facilities. Medical

210            professionals have further highlighted Mr. Ahn’s case as illustrating how

211            “preemptive lockdowns” in a “solitary confinement” setting, marked by

212            “extreme isolation and stark conditions,” pose “grave dangers to [detained

213            persons’] mental and physical health” and threaten “needless suffering and

214            loss of life.”

215      51.         Moreover, even though GEO placed Mr. Ahn in solitary as an alleged

216            COVID-19 safety measure, ICE and GEO were at the time still regularly

217            accepting incoming transfers of detainees from California prisons with

218            confirmed outbreaks of COVID-19, and placing them directly in the

219            dormitories at Mesa Verde, without requiring quarantining or regular testing.

220      52.         This practice continued for months after Mr. Ahn’s death, until a

221            federal court ordered ICE and GEO Group to stop, finding that their



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222            inadequate testing and quarantine protocols likely violated the Fifth

223            Amendment rights of all detainees.

224      53.        After he was placed in solitary, Mr. Ahn informed the psychologist that

225            he had feelings of depression.

226      54.        Nevertheless, staff held Mr. Ahn in isolation and failed to investigate

227            any alternative housing placement that would accommodate Mr. Ahn’s

228            mental state.

229      55.        At this point, because of his isolation, Mr. Ahn began expressing his

230            suicidal ideation to people beyond medical staff, including his brother,

231            Young Ahn.

232      56.        On May 16, 2020, a clinical psychologist subcontracted by GEO Group

233            reported that Mr. Ahn appeared to be at “high suicidal risk if deported.”

234      57.        On the morning of May 17, 2020, an attorney for Mr. Ahn emailed

235            ICE, requesting that the agency return him to his dormitory because isolation

236            was proving detrimental to his mental health.

237      58.        Also on May 17, 2020, a contracted medical provider employed by the

238            company Wellpath indicated that Mr. Ahn’s mental illness was “severe” and

239            again stated that Mr. Ahn was at “high risk of suicide if deported.”

240      59.        At that point, along with his extreme isolation, Mr. Ahn faced the

241            imminent threat of deportation. His next scheduled hearing in his removal



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242               proceedings was May 19, 2020, and he remained uncounseled in his removal

243               proceedings.

244         60.        Despite the deteriorating and well-documented state of Mr. Ahn’s

245               mental health, and despite internal policies directing otherwise, on the

246               evening of Sunday, May 17, 2020, GEO Group staff left Mr. Ahn

247               unobserved in the isolation cell with access to bed sheets and a tie off point.

248         61.        During the period when he was unobserved, Mr. Ahn died by hanging

249               himself with a bedsheet.

250         62.        On that day, Sylvia Ahn permanently lost her father.

251   II.              Presentment of Claims
252
253         63.        On May 17, 2022, Plaintiff submitted an administrative claim to ICE

254               under the FTCA (Exhibit B). The claim alleged that ICE falsely imprisoned

255               Mr. Ahn, inflicted on him intentional emotional distress, and caused his

256               death through its negligence.

257         64.        On October 11, 2022, ICE denied Plaintiff’s administrative claim

258               (Exhibit C).

259   III.             Applicable Standards and Protocols
260
261         65.        ICE has authority to set standards for privately-operated detention

262               facilities through its contracts and has set such standards.




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263      66.        Among other standards, GEO Group is subject to Performance-Based

264            National Detention Standards 2011 (PBNDS 2011). So is ICE.

265      67.        PBNDS impose standards and protocols for, inter alia, detainees at risk

266            of suicide and detainees with disabilities.

267      68.        Under those standards, Defendants ICE and GEO Group are required to

268            identify detainees with a risk of suicide or self-harm in an initial screening,

269            to be conducted within 12 hours of admission. 2011 PBNDS 4.6 Significant

270            Self Harm and Suicide Prevention and Intervention.

271      69.        Defendants also must remain vigilant in recognizing and reporting

272            detainees who show a risk of suicide or self-harm any time after admission.

273      70.        Once a detainee is identified as at-risk of suicide or self-harm,

274            Defendants must refer the detainee for an evaluation by a mental health

275            provider within 24 hours.

276      71.        In between the identification and evaluation, Defendants must place the

277            detainee in a secure environment with one-to-one visual observation.

278      72.        A qualified mental health professional must conduct the evaluation.

279            The professional must determine the level of risk, level of supervision

280            needed, a treatment plan, and the potential need for transfer to an inpatient

281            mental health facility. The professional’s evaluation must rely, among other




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282            things, upon the detainee’s relevant history, diagnoses, and environmental

283            factors.

284      73.        The professional may place the detainee in a special isolation room

285            designed for evaluation and treatment with continuous monitoring that must

286            be documented every 15 minutes or more frequently if necessary. The

287            isolation room must be suicide-resistant, including that it be free from any

288            features that could facilitate a suicide attempt.

289      74.        If there is no special isolation room available, then the suicidal detainee

290            may be temporarily placed in a special management unit. While in that unit,

291            the detainee shall have access to all programs and services that are available

292            to the general population, to the maximum extent possible. Detainees on

293            suicide precautions who have not been placed in a special isolation room

294            should receive documented close observations at least every 15 minutes.

295      75.        The protocols also impose training obligations. Defendants must

296            provide all facility staff members who interact with and/or are responsible

297            for detainees with comprehensive training initially during orientation and

298            repeated at least annually, on effective methods for identifying significant

299            self-harm, as well as suicide prevention and intervention with detainees.

300            Initial training should consist of at least eight hours of instruction, and

301            subsequent annual trainings should be a minimum of two hours.



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302      76.        PBNDS 2011 also details protocols for detainees with disabilities. 2011

303            PBNDS 4.8.

304      77.        A detainee is disabled if they have a physical or mental impairment

305            that substantially limits a major life activity, or if they have a record of such

306            an impairment.

307      78.        To identify a detainee with a disability, Defendants shall consider

308            information submitted by a third party, including an attorney, family

309            member, or other detainee in order to identify detainees with disabilities.

310      79.        Defendants are also required to identify detainees whose impairments

311            are “open, obvious, and apparent.” This kind of identification may occur

312            through medical or intake screenings, or direct observation.

313      80.        Upon identifying a detainee with a disability, the facility must review

314            the detainee for necessary accommodations.

315      81.        If the detainee’s disability accommodations are “complex or best

316            addressed by staff from more than one discipline (e.g., security,

317            programming, medical, or mental health, etc.),” then the accommodation

318            should be reviewed by a multidisciplinary team.

319      82.        Defendants may deny accommodations to a detainee only if the

320            detainee can access the facility’s programs, services, or activities without

321            them; there is no relationship between the disability and the accommodation;



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322            the accommodation would fundamentally alter the program or impose an

323            undue burden; or the detainee poses a direct threat to staff or other detainees.

324      83.        As with self-harm and suicide, PBNDS 2011 imposes obligations on

325            Defendants to train their staff on these requirements. Staff must receive the

326            information during an orientation training, and then annually thereafter.

327

328                                     CLAIMS FOR RELIEF
329
330                            COUNT ONE: WRONGFUL DEATH
331                            Plaintiff against Defendant GEO Group
332
333      84.         Plaintiff realleges and incorporates by reference all allegations in the

334            foregoing paragraphs.

335      85.        “The elements of a wrongful death claim are: (1) a wrongful act or

336            neglect that (2) causes (3) the death of another person.” Estate of Vela v.

337            County of Monterey, 2018 WL 4076317, at *13 (N.D. Cal. 2018) (citing Cal.

338            Civ. P. Code § 377.60 and Norgart v. Upjohn Co., 21 Cal. 4th 383, 390

339            (1999)).

340      86.        Wrongful acts include “any kind of tortious act.” Barrett v. Superior

341            Court, 222 Cal. App. 3d 1176, 1191 (1990). Because detainees are helpless

342            to protect themselves while in the custody and control of an immigration

343            detention facility, GEO Group owes detainees a heightened duty of care.

344            See, Edison v. U.S., 822 F.3d 510, 521-22 (9th Cir. 2016).

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345      87.        Wrongful acts also include constitutional violations. See, e.g.,

346            Villarreal v. Cty. of Monterey, 254 F. Supp. 3d 1168, 1191 (N.D. Cal. 2017)

347            (deliberate indifference to medical needs is a “wrongful act”).

348      88.        Here, GEO Group:

349               a. Failed to identify Mr. Ahn as disabled or at-risk for suicide or self-

350                  harm during an initial screening. GEO Group staff failed, during that

351                  screening, to effectively inquire into Mr. Ahn’s relevant medical

352                  history and prior suicide attempts.

353               b. Failed to identify Mr. Ahn as disabled or at-risk of suicide or self-

354                  harm at any time after his initial screening, despite Mr. Ahn’s

355                  repeated statements expressing feelings of depression, anxiety, low

356                  energy, and possible suicidal ideation, including to GEO Group staff.

357               c. Failed to provide Mr. Ahn with a necessary mental health evaluation

358                  or treatment.

359               d. Locked Mr. Ahn into a solitary confinement cell, despite the fact that

360                  GEO Group staff knew that Mr. Ahn had mental illness, and that

361                  isolating a person with mental illness causes their condition to

362                  deteriorate and creates a substantial risk of self-harm or suicide.

363                  Locking Mr. Ahn in solitary confinement also denied him a safe place




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364                  to sleep by reason of his disability, when he could have been housed

365                  elsewhere.

366               e. Failed to inspect the cell for any implements that could facilitate self-

367                  harm or suicide, and so left the cell with a bed sheet and tie-off point.

368               f. Failed to appropriately observe Mr. Ahn in accordance with the

369                  observation needs and requirements for someone with Mr. Ahn’s

370                  mental health conditions.

371      89.        These acts and omissions constitute negligence, negligence per se,

372            violations of federal disability law, and violations of the U.S. Constitution.

373      90.        The negligent acts and omissions were performed by GEO Group and

374            its agents or employees who acted within the scope of their employment for

375            GEO Group.

376      91.        It was reasonably foreseeable that these acts and omissions would

377            place Mr. Ahn at substantial risk of self-harm or suicide, and these acts and

378            omissions proximately caused Mr. Ahn’s death.

379      92.        Mr. Ahn’s death caused Sylvia Ahn, the Plaintiff, to lose her father and

380            resulted in pain and suffering from that loss.

381      93.        Because GEO Group’s negligence, negligence per se, and recklessness

382            proximately caused Mr. Ahn’s death, California law allows Plaintiff, his

383            daughter, to recover for the full value of Plaintiff’s life, and to seek punitive



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384            damages in these circumstances, which present wanton, reckless, and

385            depraved actions by GEO Group, which will continue to claim the lives of

386            people locked inside its facilities in the absence of judicial opprobrium and

387            punishment by a jury.

388
389        COUNT TWO: DISABILITY DISCRIMINATION – VIOLATION OF
390                      THE REHABILITATION ACT
391                   Plaintiff against Defendant GEO Group
392

393      94.         Plaintiff re-alleges and incorporates by reference all allegations in the

394            foregoing paragraphs.

395      95.         Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, prohibits

396            discrimination on the basis of disability in (1) any program or activity

397            receiving federal financial assistance; or (2) under any program or

398            activity conducted by any Executive agency or the United States Postal

399            Service. 29 U.S.C. § 794.

400      96.         Section 504 of the Rehabilitation Act requires covered parties to

401            provide “reasonable accommodations” to individuals with disabilities so

402            they can fully participate in benefits administered by these agencies. 29

403            U.S.C. § 794(a).

404      97.         DHS regulations implementing the Rehabilitation Act mandate that

405            “[n]o qualified individual with a disability in the United States, shall, by



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406            reason of his or her disability, be excluded from participation in, be denied

407            benefits of, or otherwise be subjected to discrimination under any program

408            or activity conducted by the Department.” 6 C.F.R. § 15.30; see also 29

409            U.S.C. § 794(a).

410      98.         The regulations implementing Section 504 prohibit entities receiving

411            federal financial assistance from utilizing “criteria or methods of

412            administration (i) that have the effect of subjecting qualified handicapped

413            persons to discrimination on the basis of handicap, (ii) that have the purpose

414            or effect of defeating or substantially impairing the accomplishment of the

415            objectives of the recipient’s program or activity with respect to handicapped

416            persons.” 34 C.F.R. § 104.4(b)(4).

417      99.         The removal proceedings are a benefit or program administered by

418            DHS and Mr. Ahn was entitled to participate in the removal process. The

419            services, programs, and activities within the detention centers where DHS

420            detained Mr. Ahn receive substantial federal financial assistance.

421      100.       ICE is a component agency of the DHS, which is an Executive agency.

422            See 6 C.F.R. § 15.1.

423      101.       GEO Group operates a program or activity at Mesa Verde by contract

424            with and for ICE and it receives federal financial assistance for this

425            operation.



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426      102.     GEO Group’s federal financial assistance also includes subsidies that

427         the corporation receives in connection with its Voluntary Work Program for

428         federal immigration detainees housed at GEO Group facilities, through

429         which: (a) the United States authorizes GEO Group to use detainees to

430         perform essential work at wages far, far below market rates, work that GEO

431         Group would otherwise be required to carry out with additional staff hired

432         from the community at market rates, thus providing GEO Group with a

433         significant financial benefit; and (b) the United States provides GEO Group

434         a stipend of $1 per day for each detainee who participates in the Voluntary

435         Work Program. See 8 U.S.C. § 1555(d); 2011 Performance-Based National

436         Detention Standards, Section 5.8, Voluntary Work Program, available

437         online: https://www.ice.gov/doclib/detention-standards/2011/5-8.pdf (Last

438         accessed June 17, 2022).

439      103.      Additionally, GEO Group’s federal financial assistance includes

440         subsidies that the corporation receives in connection with revenues obtained

441         through commissary. In its Intergovernmental Service Agreement with GEO

442         Group to operate Mesa Verde, ICE authorizes GEO Group to use the excess

443         revenues from detainees’ purchases of commissary items to offset staff

444         salaries that GEO Group would have otherwise been required to pay in-full.




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445      104.      GEO Group also receives federal financial assistance by providing

446         their officers free staff meals prepared by detainees through the food budget

447         allocated by ICE.

448      105.    All operations in Mesa Verde are considered a “program, service, or

449         activity.” The Rehabilitation Act of 1973 defines a “program or activity” as

450         “all of the operations of . . . a department, agency, . . . or instrumentality of

451         a State or of a local government.” 29 U.S.C. § 794(b)(1(A) (emphasis

452         added). It also includes “all of the operations of . . . an entire corporation . . .

453         which is principally engaged in the business of providing education, health

454         care, housing, social services, or parks and recreation,” or “the entire plant

455         or other comparable, geographically separate facility to which Federal

456         financial assistance is extended, in the case of any other corporation.” 29

457         U.S.C. § 794(b)(3)(A) and (B) (emphasis added). This includes all

458         operations of an “entity which is established by two or more of the entities.”

459         29 U.S.C. § 794(b)(4) (emphasis added).

460      106.      In its Component Self-Evaluation and Planning Reference Guide,

461         DHS acknowledges that its “federal conducted programs” include “operation

462         of immigration detention facilities.”

463      107.      The DHS document further states that “[a] Component’s activities

464         carried out through contracts are considered conducted activities and are



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465         subject to the same obligation [of complying with the Rehabilitation Act].”

466         Id. See also Instruction on Nondiscrimination for Individuals with

467         Disabilities in DHS Conducted Programs and Activities (Non-Employment),

468         DHS Directives System Instruction No. 065-01-001 (defining conducted

469         activities of DHS to include “those carried out through contractual or

470         licensing arrangements”).

471      108.    Additionally, Congress has required ICE to ensure contractors like

472         GEO Group fully implement the programmatic guarantees of the PBNDS

473         2011.

474      109.    As administered by contractual agreement at Mesa Verde, the PBNDS

475         constitutes a federal program under the authority of 8 U.S.C. § 1103(a)(11)

476         that ensures access to services including safe sleeping facilities, telephone

477         calls, adequate medical, dental, and mental health care (including outside

478         care), recreation, commissary, law library, visitation, counsel, and

479         appropriate classification in civil immigration detention. Mr. Ahn was

480         entitled to all of the benefits administered by GEO Group and ICE

481         administered through PBNDS and their contract terms.

482      110.       The removal proceedings are also a benefit or program administered

483         by DHS and Mr. Ahn was entitled to participate in this removal process. The

484         federal benefit provided by GEO Group at Mesa Verde includes ensuring



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485         detained immigrants like Mr. Ahn have meaningful access to and

486         participation in the adjudication of the charges justifying their detention at

487         Mesa Verde, determination of their eligibility for release from custody

488         pending resolution of those charges, and adjudication of their claims for

489         relief in removal proceedings conducted by the Department of Justice’s

490         Executive Office for Immigration Review. See generally 8 U.S.C. §§ 1229

491         (setting forth rights of noncitizens against who the government initiates

492         removal proceedings), 1229a(b)(4), 1229a(c)(2)(B), 1229a(c)(4).

493      111.    Mr. Ahn was an individual with a disability. He had diabetes and heart

494         disease, serious illnesses that put patients at a high risk of serious injury or

495         death from COVID-19. He also had depression and a history of suicide

496         attempts. These conditions qualify as disabilities for purposes of the

497         Rehabilitation Act. 29 U.S.C. §705(2)(B); 42 U.S.C. § 12102.

498      112.    In February 2020, ICE, through its subdivision, ERO, took custody of

499         Mr. Ahn and transported him to Mesa Verde. GEO Group then took custody

500         of Mr. Ahn. Despite binding, non-discretionary corporate and contractual

501         policies regarding identification of individuals with serious mental illness or

502         other special vulnerabilities upon a person’s admission to Mesa Verde, GEO

503         Group facility administrators conducted only a cursory interview of Mr. Ahn

504         and failed to initially identify Mr. Ahn’s serious mental health issues.



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505      113.     GEO Group and ICE discriminated against Mr. Ahn because of his

506         disability in myriad interconnected ways:

507             a. First, by exposing Mr. Ahn to a heightened risk of contracting COVID-

508                19, ICE prevented Mr. Ahn from participating in the removal process

509                by reason of his disability. By failing to take account of his special

510                vulnerability to severe illness or death if he were to contract COVID-

511                19, ICE prevented Mr. Ahn from participating in the removal process

512                by reason of his disability.

513             b. By failing to provide Mr. Ahn adequate protection from COVID-19

514                through the only effective means to reduce the risk of severe illness or

515                death, release, ICE had the purpose or effect of defeating or

516                substantially impairing the accomplishment of the objectives of

517                removal proceedings and the services, programs, and activities within

518                the detention centers with respect to Mr. Ahn.

519             c. Defendants also prevented Mr. Ahn from accessing basic services such

520                as a safe living space, toilets, recreation, timely medical care or other

521                programming without risk of death from heightened exposure to

522                COVID-19. Mr. Ahn requested an accommodation of his disabilities

523                repeatedly when he made requests for release and all of those requests

524                for accommodation were denied.



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525            d. Second, GEO Group discriminated against Mr. Ahn when it placed him

526               in an isolation cell despite his mental health conditions. GEO Group

527               failed to provide Mr. Ahn with the service or benefit of a safe living

528               space without tie-off points, given his well-documented history with

529               suicidal ideation. While isolated, GEO Group prevented Mr. Ahn

530               from accessing their programs, services, or activities, including the

531               removal process, by taking actions that foreseeably would lead to Mr.

532               Ahn’s death because of his disability.

533            e. GEO Group failed to provide Mr. Ahn the reasonable accommodation

534               of a room that was regularly observed and devoid of implements with

535               which one could affect a suicide attempt.

536            f. GEO Group failed to provide Mr. Ahn with appropriate mental health

537               services or accommodations, despite Mr. Ahn’s long history with

538               depression and suicidal thoughts. As such, he was not given equal

539               access to the removal proceedings or programming as individuals

540               without disabilities.

541            g. Further, GEO Group failed to consider the appropriateness of less-

542               restrictive alternatives to solitary confinement for individuals like Mr.

543               Ahn with serious mental illness. They failed to consider this even

544               though there was no legitimate purpose behind isolating Mr. Ahn



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545                  initially (as he had a negative COVID-19 test). GEO Group’s policies

546                  and ICE’s contract require the facility administrator and

547                  interdisciplinary staff to conduct regular, periodic reviews of people in

548                  solitary confinement who suffer from mental health-related

549                  disabilities, and to consider them for release to general population.

550             h. GEO Group’s COVID-19 and isolation policies and practices manifest

551                  deliberate intentional discrimination and/or deliberate indifference to

552                  the likelihood that detainees with serious mental health conditions

553                  would suffer illegal discrimination at Mesa Verde.

554             i. GEO Group further failed to ensure that its staff had appropriate

555                  training for responding to detained migrants, like Mr. Ahn, who

556                  suffered from depression and suicidality.

557      114.     ICE’s and GEO Group’s disability discrimination in violation of the

558         Rehabilitation Act caused Mr. Ahn’s emotional distress, deterioration, and

559         death.

560      115.     Plaintiff brings this claim Individually and as Successor-in-Interest as

561         defined in Section 377.11 of the California Code of Civil Procedure and

562         seeks survival damages for the violation of Decedent’s rights.

563
564       COUNT THREE: VIOLATION OF THE LAW OF NATIONS UNDER
565      THE ALIEN TORT STATUTE FOR TORTURE & CRUEL, INHUMANE
566                    AND DEGRADING TREATMENT

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567                          Plaintiff against Defendant GEO Group
568

569      116.     Plaintiff re-alleges and incorporates by reference all allegations in the

570         foregoing paragraphs.

571      117.     The Alien Tort Statute (“ATS”), enacted in 1789, permits non-citizens

572         to bring suit in U.S. courts for violations of the law of nations or a treaty of

573         the United States. Under the ATS, federal courts are authorized to recognize

574         a common-law cause of action for violations of clearly defined, widely

575         accepted human rights norms.

576      118.     The United States has signed and ratified with reservations,

577         understanding, and declarations (“RUDs”) binding treaties banning

578         punishment of prolonged solitary confinement and solitary confinement of

579         persons with mental illness for any period because it constitutes cruel,

580         inhuman and degrading treatment (“CIDT”) and torture.

581      119.     The Convention Against Torture and Other Cruel Inhuman and

582         Degrading Treatment (“CAT”) constitutes a clearly defined, widely accepted

583         human rights treaty obligation that the United States has signed and ratified

584         (with RUDs), ratified October 21, 1994, 1465 U.N.T.S. 85 (entered into

585         force June 26, 1987).

586      120.     The United States, as a state party to the CAT, has implemented its

587         obligations in domestic law. See, e.g., 8 C.F.R. § 208.18.

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588      121.     Articles 1(1) and 16(1) of the CAT define torture and require the

589         United States to prevent it and CIDT within its jurisdiction.

590      122.     The United States has adopted with RUDs the International Covenant

591         on Civil and Political Rights (“ICCPR”). International Covenant on Civil

592         and Political Rights art. 7, ratified June 8, 1992, 999 U.N.T.S. 171 (entered

593         into force March 23, 1976)

594      123.     Art. 7 of the ICCPR states: “No one shall be subjected to torture or

595         [CIDT] or punishment . . . .”, and Art. 4(2) establishes this as a non-

596         derogable peremptory norm.

597      124.     The U.N. Special Rapporteur on Torture and Other CIDT has stated

598         that the “imposition, of solitary confinement of any duration, on persons

599         with mental disabilities is cruel, inhuman or degrading treatment. (A/66/268,

600         paras. 67-68, 78). Moreover, any restraint on people with mental disabilities

601         for even a short period of time may constitute torture and ill-treatment.”

602         Special Rapporteur on Torture and Other [CIDT], Report of the Special

603         Rapporteur on torture and other cruel, inhumane or degrading treatment or

604         punishment, ¶ 63, U.N. Doc. A/HRC/22/53 (Feb. 1, 2013) Juan Mendez.

605      125.     Defendant GEO Group’s conduct described herein constitutes torture

606         and cruel, inhuman, and degrading treatment, a violation of “specific,

607         universal, and obligatory” international law norms, as evidenced by



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608         numerous binding international treaties, declarations, and other international

609         law instruments. Accordingly, Defendant’s conduct is actionable under the

610         ATS.

611      126.      GEO Group tortured Mr. Ahn to death and subjected him to CIDT by

612         intentionally inflicting severe physical and mental pain and suffering upon

613         him for no facially legitimate purpose.

614      127.      Specifically, GEO Group supervisors ordered Mr. Ahn’s placement in

615         solitary confinement for medical quarantine despite a negative COVID-19

616         test and no legitimate or consistent justification for such confinement.

617      128.      GEO Group did this despite being specifically aware of Mr. Ahn’s

618         diagnosis of unspecified depression and his, at least, three prior suicide

619         attempts. They also placed him in solitary confinement despite having

620         recently identified his mental illness as “severe.”

621      129.      GEO Group personnel knew that time in solitary confinement,

622         particularly for someone in Mr. Ahn’s condition, would inflict severe

623         psychological pain and put Mr. Ahn at an acute risk of suicide.

624      130.      Indeed, as a matter of corporate policy, every GEO Group detention

625         officer at Mesa Verde is required to receive suicide prevention training that

626         specifically warns of the acute risks of solitary confinement for people with




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627         past histories of suicidal ideation, involuntary commitment, or diagnoses like

628         the one conferred on Mr. Ahn by the GEO Group’s own physicians.

629      131.      Painfully aware of the specific form of acute suffering and harm

630         segregation would inflict on a detained person with depression, suicidal

631         ideation and past suicide attempts, GEO Group intentionally condemned Mr.

632         Ahn to the acute psychological, emotional, and physical pain and suffering.

633      132.      GEO Group’s torture and CIDT of Mr. Ahn caused his death.

634      133.      Additionally, GEO Group provided Mr. Ahn the means and

635         opportunity to effectuate his suicide by refraining from observing Mr. Ahn

636         during the period when he died and by placing Mr. Ahn in a solitary

637         confinement cell with bed sheets and a tie off point—well known risk

638         factors for suicide.

639      134.      GEO Group’s acts and omissions were deliberate, willful, intentional,

640         wanton, malicious, oppressive, and in conscious disregard for Mr. Ahn’s

641         rights under international and U.S. law and should be punished by an award

642         of punitive damages in an amount to be determined at trial.

643      135.      No absolute or qualified immunity exists to shield GEO group from

644         liability.

645      136.     Plaintiff brings this claim Individually and as Successor-in-Interest.

646
647             COUNT FOUR: NEGLIGENCE OR NEGLIGENCE PER SE

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648                          Plaintiff against Defendant GEO Group
649
650      137.      Plaintiff re-alleges and incorporates by reference all allegations in the

651         foregoing paragraphs.

652      138.     “The elements of a negligence claim under California law are duty,

653         breach, causation, and injury.” Stasi v. Inmediata Health Group Corp., 501

654         F.Supp.3d 898, 912 (S.D. Cal. 2020) (citing Vasilenko v. Grace Family

655         Church, 3 Cal. 5th 1077 (2017)).

656      139.     Because detainees are helpless to protect themselves while in the

657         custody and control of an immigration detention facility, GEO Group owes

658         detainees a heightened duty of care. See, Edison, 822 F.3d at 521–22.

659      140.     Here, GEO Group:

660             a. Failed to identify Mr. Ahn as at-risk for suicide or self-harm during an

661                initial screening, including because Defendant failed, during that

662                screening, to effectively inquire into Mr. Ahn’s relevant medical

663                history and prior suicide attempts.

664             b. Failed to identify Mr. Ahn as at-risk of suicide or self-harm at any

665                time after his initial screening, despite Mr. Ahn’s repeated statements

666                expressing feelings of depression, anxiety, low energy, and possible

667                suicidal ideation, including to GEO Group staff.




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668             c. Failed to provide Mr. Ahn with a timely and adequate mental health

669                evaluation or treatment.

670             d. Locked Mr. Ahn into a solitary confinement cell, despite the fact that

671                Mr. Ahn had mental illness, and isolating a person with mental illness

672                causes their condition to deteriorate and creates a substantial risk of

673                self-harm or suicide.

674             e. Failed to inspect the cell for any implements that could facilitate self-

675                harm or suicide, and so left the cell with a bed sheet and tie-off point.

676             f. Failed to appropriately observe Mr. Ahn in accordance with the

677                observation needs and requirements for someone with Mr. Ahn’s

678                mental health conditions.

679      141.     These acts and omissions constitute negligence and negligence per se.

680      142.     The negligent acts and omissions were performed by GEO Group and

681         its agents or employees who acted within the scope of their employment for

682         GEO Group.

683      143.     It was reasonably foreseeable that these acts and omissions would

684         place Mr. Ahn in emotional distress prior to his death and at substantial risk

685         of self-harm or suicide, and these acts and omissions proximately caused Mr.

686         Ahn’s death.

687      144.     Plaintiff brings this claim Individually and as Successor-in-Interest.



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688
689             COUNT FIVE: INTENTIONAL INFLICTION OF EMOTIONAL
690                                      DISTRESS
691                       Plaintiff against Defendant GEO Group
692
693      145.      Plaintiff re-alleges and incorporates by reference all allegations in the

694         foregoing paragraphs.

695      146.      Intentional infliction of emotional distress encompasses “(1) extreme

696         and outrageous conduct by the defendant with the intention of causing, or

697         reckless disregard of the probability of causing, emotional distress; (2) the

698         plaintiff's suffering severe or extreme emotional distress; (3) and actual and

699         proximate causation of the emotional distress by the defendant's outrageous

700         conduct.” Pardi v. Kaiser Foundation Hospitals, 389 F.3d 840, 852 (9th Cir.

701         2004) (quoting Cervantez v. J.C. Penney Co., 24 Cal.3d 579, 593 (1979))

702         (internal quotations omitted).

703      147.      GEO Group staff committed extreme and outrageous conduct against

704         Mr. Ahn when they, despite being aware of his mental health condition,

705         placed him in an isolation cell that they knew, or should have known, would

706         exacerbate his condition.

707      148.      This conduct was further extreme and outrageous because it was done

708         with full knowledge of at least three past suicide attempts and because the

709         isolation cell into which GEO Group staff placed Mr. Ahn was furnished

710         with implements with which one could die by suicide.

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711      149.      GEO Group additionally committed extreme and outrageous conduct

712         when they failed to observe Mr. Ahn as required in the isolation cell.

713      150.      Because of Mr. Ahn’s mental health condition, his repeated

714         descriptions of his suicidality, and his past suicide attempts, placing Mr. Ahn

715         in an isolation cell recklessly disregarded the high probability that such

716         placement would cause Mr. Ahn extreme emotional distress.

717      151.      It did just that and Mr. Ahn began to emotionally deteriorate as a

718         result of his placement in isolation. As such, GEO Group’s actions were the

719         proximate cause of his emotional distress.

720      152.      Despite this, at no point did GEO Group release Mr. Ahn from

721         isolation and he continued to suffer increasing levels of severe emotional

722         distress.

723      153.      This distress culminated when Mr. Ahn died by suicide in GEO

724         Group’s isolation cell, unobserved by any GEO Group staff.

725      154.    Plaintiff brings this claim Individually and as Successor-in-Interest.

726
727
728             COUNT SIX: NEGLIGENT TRAINING, SUPERVISION, AND
729                                   RETENTION
730                      Plaintiff against Defendant GEO Group
731
732      155.      Plaintiff re-alleges and incorporates by reference all allegations in the

733         foregoing paragraphs.



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734      156.       An employer is negligent if they fail to adequately train their

735         employees as to the performance of their job duties, and as a result of such

736         negligent instruction, employees while carrying out their job duties caused

737         injury or damage to the plaintiff. See State Farm Fire & Casualty Co. v.

738         Keenan, 171 Cal.App.3d 1, 23, 216 Cal. Rptr. 318 (1985).

739      157.       PBNDS 2011 require GEO Group to provide all facility staff members

740         who interact with and/or are responsible for detainees with comprehensive

741         training initially during orientation and repeated at least annually, on

742         effective methods for identifying significant self-harm, as well as suicide

743         prevention and intervention with detainees. Initial training should consist of

744         at least eight hours of instruction, and subsequent annual trainings should be

745         a minimum of two hours.

746      158.       PBNDS 2011 also require GEO Group to train staff as to detainees’

747         disability rights at an initial orientation, and then to refresh staff on the

748         material annually thereafter.

749      159.       GEO Group failed to adequately train its staff as required by PBNDS

750         2011.

751      160.       In addition, GEO Group failed to adequately train its staff as to: 1)

752         not placing people with mental health conditions in solitary; 2) proper

753         COVID protocols including the lack of need to isolate someone who tested



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754         negative for COVID; 3) the need to remove implements from a solitary cell

755         that one could easily use to commit suicide; 4) the protocols for consistent

756         observation of people with depression and past suicide attempts.

757      161.     Those failures constituted negligence and negligence per se.

758      162.    It was reasonably foreseeable that these acts and omissions would

759         place Mr. Ahn at substantial risk of self-harm or suicide, and these acts and

760         omissions proximately caused Mr. Ahn’s death.

761      163.    Plaintiff brings this claim Individually and as Successor-in-Interest.

762
763         COUNT SEVEN: VIOLATIONS OF CAL. CIVIL CODE § 43, CAL.
764                        CIVIL CODE § 51 (UNRUH)
765                   Plaintiff against Defendant GEO Group
766
767      164.     Plaintiff re-alleges and incorporates by reference all allegations in the

768         foregoing paragraphs.

769      165.     The Unruh Act provides that “[a]ll persons within the jurisdiction of

770         [California] are free and equal, and no matter what their sex, race, color,

771         religion, ancestry, national origin, disability, or medical condition are

772         entitled to the full and equal accommodations, advantages, facilities,

773         privileges, or services in all business establishments of every kind

774         whatsoever.” Cal. Civ. Code § 51(b).

775      166.     GEO Group is a “business establishment” subject to the Unruh Act

776         because Defendant is a for-profit business whose “overall function” is to

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777         “protect and enhance [its] economic value,” O’Connor v. Vill. Green

778         Owners Assn., 33 Cal. 3d 790, 796 (1983), and whose “purpose [is] making

779         a livelihood or gain,” Ibister, 40 Cal. 3d 72, 95 (1985). See also Est. of Silva

780         v. City of San Diego, No. 3:18-CV-2282-L-MSB, 2020 WL 6946011, at *22

781         (S.D. Cal. Nov. 25, 2020) (quoting O’Connor, 33 Cal. 3d at 796) (holding

782         that private subcontractors who provided medical services inside county jails

783         were properly subject to the Unruh Act); also Wilkins-Jones v. Cty. of

784         Alameda, 859 F. Supp. 2d 1039, 1043 (N.D. Cal. 2012) (holding that a

785         private medical contractor is “qualitatively different from a correctional

786         facility itself; while the County’s operation of a jail may not be a business,

787         [the private medical contractor] is a business establishment operating for

788         profit within a correctional facility.”).

789      167.     A violation of an individual’s rights under the ADA constitutes a

790         violation of the Unruh Act. Cal. Civ. Code § 51(f).

791      168.     Title III of the ADA provides: “No individual shall be discriminated

792         against on the basis of disability in the full enjoyment of the goods, services,

793         facilities, privileges, advantages, or accommodations of any place of public

794         accommodation by any person who owns, leases (or leases to), or operates a

795         place of public accommodation.” 42 U.S.C. § 12182(a).




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796      169.     Mr. Ahn is an individual with a disability because he suffered from

797         depression, anxiety, and other mental illnesses that substantially limited his

798         ability to perform major life activities, including sleeping, communicating

799         and regular socialization.

800      170.     GEO Group operates Mesa Verde, which is a public accommodation.

801         See 42 U.S.C.A. § 12181(7)(K) (listing “social service center

802         establishment[s]” as a kind of public accommodation); see also Martin v.

803         PGA Tour, Inc., 204 F.3d 994, 998 (9th Cir.2000) (Selectivity about who

804         may enter or use the accommodation does not necessarily defeat its public

805         character.)

806      171.     GEO Group locked Mr. Ahn in an isolation cell, exacerbating his

807         mental illness. This conduct denied Mr. Ahn access to a safe place to sleep,

808         which is a program, service, or activity in a detention facility.

809      172.     The denial constitutes discrimination against Mr. Ahn on the basis of

810         his disability, because GEO Group failed to provide him with a reasonable

811         accommodation (e.g., a different housing assignment) when one was

812         necessary.

813      173.     Mr. Ahn suffered harm as a result of Defendant’s acts and omissions.

814         Specifically, Mr. Ahn suffered exacerbation of his mental illness and

815         ultimately his death.



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816      174.    Plaintiff brings this claim Individually and as Successor-in-Interest.

817
818       COUNT EIGHT: VIOLATIONS OF CAL. CIVIL CODE § 52.1 (BANE
819                                    ACT)
820                  Plaintiff against Defendant GEO Group
821
822      175.     Plaintiff re-alleges and incorporates by reference all allegations in the

823         foregoing paragraphs.

824      176.     The Bane Act creates a private right of action against any person

825         (whether or not acting under color of law) who interferes by threat,

826         intimidation, or coercion with the plaintiff’s enjoyment of rights created by

827         the U.S. constitution, federal laws, the California constitution, or California

828         state laws. Reese v. Cnty. of Sacramento, 888 F.3d 1030, 1040 (9th Cir.

829         2018).

830      177.     The Fifth Amendment guarantees civil detainees a right to adequate

831         medical care. See Gordon v. Cnty. of Orange, 888 F.3d 1118, 1125 (9th Cir.

832         2018) (discussing the right in the context of the Fourteenth Amendment).

833      178.     A civil detainee’s Fifth Amendment rights are violated where: “(i) the

834         defendant made an intentional decision with respect to the conditions under

835         which the plaintiff was confined; (ii) those conditions put the plaintiff at

836         substantial risk of suffering serious harm; (iii) the defendant did not take

837         reasonable available measures to abate that risk, even though a reasonable

838         official in the circumstances would have appreciated the high degree of risk

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839         involved—making the consequences of the defendant's conduct obvious; and

840         (iv) by not taking such measures, the defendant caused the plaintiff's

841         injuries.” Id.

842      179.      GEO Group interfered with Mr. Ahn’s enjoyment of his substantive

843         due process rights under the Fifth Amendment of the U.S. Constitution.

844      180.      (i) Defendant made an intentional decision to put Mr. Ahn in solitary

845         confinement on May 14th, 2020, when Mr. Ahn returned from the hospital.

846      181.      Placing Mr. Ahn in a solitary cell constitutes “coercion.” See Reese,

847         888 F.3d at 1040 (The “threat, intimidation or coercion” need not be

848         “transactionally independent from the constitutional violation alleged.”);

849         B.B. v. County of Los Angeles, 25 Cal. App. 5th 115, 130 (Cal. Ct. App.

850         2018), rev’d on other grounds, B.B. v. County of Los Angeles, 10 Cal. 5th 1

851         (Cal. 2020).

852      182.      (ii) Because Mr. Ahn was depressive, that decision placed him at

853         substantial risk of harm.

854      183.      (iii) GEO Group did not take reasonable measures to abate that risk,

855         because Defendant did not, among other things, transfer Mr. Ahn out of

856         isolation, to a mental health institution, or place him under one-to-one

857         supervision. In fact, Defendant did nothing at all.

858      184.      GEO Group knew or should have known that Mr. Ahn was



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859         depressive: Mr. Ahn reported symptoms of depression to a psychologist in

860         April 2020, and also told the psychologist that he had attempted suicide at

861         least three different times in custody in 2014, 2015, and 2016; GEO Group

862         employees witnessed Mr. Ahn acting abnormally, including being strangely

863         quiet and crying when his release request was denied; Mr. Ahn reported to a

864         psychologist again after being placed in solitary confinement that he had

865         feelings of depression; and on May 16, 2020, a Mesa Verde psychologist

866         said that Mr. Ahn had a high risk of suicide if deported. GEO Group also

867         knew or should have known that solitary confinement was dangerous to

868         Plaintiff, because the risks and adverse consequences of placing a person

869         with mental illness in solitary confinement is well-established. See, e.g.,

870         Civil Rights Education and Enforcement Center, et. al., Complaint for

871         violations of civil, constitutional, and disability rights of Anderson Avisai

872         Gutierrez (Mar. 13, 2020),

873         https://www.splcenter.org/sites/default/files/2020-03-

874         13_anderson_avisai_gutierrez_crcl_504_complaint_.pdf (describing cases of

875         detainees who died by suicide following improper placement in

876         segregation); U.S. Department of Homeland Security, Memorandum to

877         Matthew Albence from Veronica Venture regarding Adelanto Correctional

878         Facility Complaints (April 25, 2018),



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879         https://www.dhs.gov/sites/default/files/publications/adelanto-expert-memo-

880         04-25-18.pdf at 5 (”Detainees with serious mental disorders should only be

881         housed in administrative segregation as a last resort, as that environment is

882         not conducive to improving mental health status”); Memorandum from Ellen

883         Gallagher, Senior Policy Advisor, DHS CRC. to Deputy Secretary

884         Mayorkas, DHS (July 23, 2014) at 3 (stating that placing individuals in ICE

885         custody who suffer from serious mental health conditions into segregated

886         settings is non-therapeutic and “imposes improper punitive conditions, and

887         subjects vulnerable detainees to physical and mental deterioration”); Justin

888         D. Strong et al., The body in isolation: The physical health impacts of

889         incarceration in solitary confinement, PLOS ONE (Oct. 9, 2020),

890         https://doi.org/10.1371/journal.pone.0238510 (explaining that “solitary

891         confinement is associated not just with mental, but also with physical health

892         problems” and “analyz[ing] a range of physical exacerbated by both

893         restrictive conditions and policies.”). In other words, the consequences of

894         Defendant’s acts and omissions were obvious.

895      185.     GEO Group also acted with “specific intent” to deprive Mr. Ahn of

896         his Fifth Amendment rights, because these acts and omissions are also

897         evidence of a “reckless disregard,” if not a knowing interference, of his




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898         rights. See Reese, 888 F.3d at 1043-45 (citing Cornell v. City and County of

899         San Francisco, 17 Cal. App. 5th 766, 801 (2017)).

900      186.       As a result of GEO Group’s failure to take reasonable measures and

901         move Mr. Ahn out of solitary confinement, Mr. Ahn died by suicide. Mr.

902         Ahn’s depression was exacerbated by isolation and at the time that he

903         effectuated his suicide he was not visible to other detainees or GEO

904         employees who could have intervened.

905      187.      Plaintiff brings this claim Individually and as Successor-in-Interest.

906
907             COUNT NINE: NEGLIGENCE – FEDERAL TORTS CLAIMS ACT
908                                     28 U.S.C. §1346(b)
909                    Plaintiff against Defendants United States and ICE
910
911      188.       Plaintiff re-alleges and incorporates by reference all allegations in the

912         foregoing paragraphs.

913      189.       “In order to establish negligence under California law, a plaintiff must

914         establish four required elements: (1) duty; (2) breach; (3) causation; and (4)

915         damages.” See Ileto v. Glock Inc., 349 F.3d 1191, 1203 (9th Cir.2003) (citing

916         Martinez v. Pac. Bell, 225 Cal.App.3d 1557, 1564 (1990)). “Although one

917         person is generally under no duty to protect another from harm, an affirmative

918         duty to protect another from harm may arise where a ‘special relationship’

919         exists between the parties … .” Martinez v. GEO Group, Inc., 2019 WL

920         3758026, at *3-4 (C.D. Cal. 2019) (quoting Tarasoff v. Regents of Univ. of

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921         Cal., 17 Cal. 3d 425, 435 (1976)). “[I]mportant factors in determining whether

922         a relationship is ‘special’ include vulnerability and dependence.” Id. (quoting

923         Lawson v. Superior Court, 180 Cal. App. 4th 1372, 1390 (2010) (internal

924         quotations omitted).

925      190.     ICE owed Mr. Ahn, who was a vulnerable and dependent detainee in

926         its custody, both a duty of reasonable care and a duty to affirmatively protect

927         from harm. ICE breached its duty by declining to release Mr. Ahn from

928         detention during the COVID pandemic. ICE knew or should have known

929         that Mr. Ahn had severe medical problems and serious mental illnesses; that

930         the mental health care provided by GEO Group at Mesa Verde was

931         inadequate; that the pandemic posed particular dangers to Mr. Ahn,

932         especially while he was in custody; and that there were no compelling

933         reasons to refuse release.

934      191.     ICE’s failure to release Mr. Ahn was unreasonable, and actually and

935         proximately caused Mr. Ahn to suffer extreme mental illness and distress,

936         which led him to commit suicide.

937      192.     Plaintiff has exhausted the administrative process required by the

938         FTCA before filing this claim.

939      193.    Plaintiff brings this claim Individually and as Successor-in-Interest.

940



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941         COUNT TEN: NEGLIGENT HIRING – FEDERAL TORTS CLAIMS
942                              ACT 28 U.S.C. §1346(b)
943                Plaintiff against Defendants United States and ICE
944
945      194.     Plaintiff re-alleges and incorporates by reference all allegations in the

946         foregoing paragraphs.

947      195.     An employer is subject to liability if, without exercising reasonable

948         care, they employ a contractor “(a) to do work which will involve a risk of

949         physical harm unless it is skillfully and carefully done, or [¶] (b) to perform

950         any duty which the employer owes to third persons.” And fail to use

951         reasonable care. Restatement Second of Torts § 411. Reasonable care is care

952         that “a reasonable [person] would exercise under the circumstances.” Golden

953         v. Conway, 55 Cal.App.3d 948, 957, 128 Cal.Rptr. 69 (1976). A defendant

954         has a “special relationship” to a plaintiff that is particularly vulnerable or

955         dependent on them, and owes that plaintiff an affirmative duty of care. See,

956         e.g., Martinez, 2019 WL 3758026, at *3-4 (citations omitted).

957      196.     ICE is liable for negligently hiring GEO Group to operate Mesa

958         Verde. Operating a detention center carries risk of physical harm, because it

959         involves, inter alia: locking many people up in the same small space, against

960         their will, away from their friends, families, jobs, and communities, under

961         constant threat of deportation, and without means of providing for their own

962         basic necessities.



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963      197.     ICE owed Mr. Ahn a duty of reasonable care, as well as an affirmative

964         duty to protect from harm. ICE breached that duty to Mr. Ahn when it hired

965         GEO Group in 2015 through the City of McFarland. Already at that time,

966         GEO Group had “long been criticized by advocacy organizations,

967         government agencies, and the press for inadequate medical care,

968         understaffing, violence, and other issues.” Among other incidents, before

969         ICE hired GEO Group, a detainee died at the nearby GEO Group-operated

970         Adelanto Detention Facility after receiving what the Office of Detention

971         Oversight described as an “unacceptable level of medical care.” ICE acted

972         unreasonably in hiring GEO Group anyways. And GEO Group then,

973         predictably, failed to maintain safe conditions at Mesa Verde during the

974         pandemic, failed to provide Mr. Ahn with adequate mental health care, and

975         failed to prevent his suicide.

976      198.     ICE’s decision to hire GEO Group was the actual and proximate cause

977         of Mr. Ahn’s severe mental and emotional distress and eventual suicide.

978      199.     Plaintiff has exhausted the administrative process required by the

979         FTCA before filing this claim.

980      200.    Plaintiff brings this claim Individually and as Successor-in-Interest.

981

982         COUNT ELEVEN: NEGLIGENT SUPERVISION & RETENTION –
983             FEDERAL TORTS CLAIMS ACT 28 U.S.C. §1346(b)

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 984                    Plaintiff against Defendants United States and ICE
 985
 986      201.      Plaintiff re-alleges and incorporates by reference all allegations in the

 987         foregoing paragraphs.

 988      202.      An employer “who entrusts work to an independent contractor, but

 989         who retains control of any part of the work, is subject to liability for physical

 990         harm to others for whose safety the employer owes a duty to exercise

 991         reasonable care, which is caused by his failure to exercise his control with

 992         reasonable care.” Restatement Second of Torts § 414.

 993      203.      ICE owed Mr. Ahn, who was a detainee in its custody, a duty of

 994         reasonable care and an affirmative duty to protect from harm. See, e.g.,

 995         Martinez, 2019 WL 3758026, at *3-4. ICE breached that duty by failing to

 996         exercise its control over GEO Group with sufficient care. For example:

 997             a. ICE had authority to set standards and enforce compliance through

 998                inspections. But ICE’s inspections were perfunctory and unreliable,

 999                and did not identify the deficiencies with GEO Group’s medical or

1000                mental health care, or suicide prevention protocols.

1001             b. ICE had authority to penalize GEO Group for failing to meet

1002                standards, to decline to renew the contract in 2019, or to terminate the

1003                contract. ICE took none of those actions, even though it knew or




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1004                should have known about the unsafe conditions at Mesa Verde and

1005                other GEO Group-operated facilities.

1006             c. ICE had authority to implement COVID-19 protocols, but failed to

1007                impose adequate safety measures. ICE also had authority to decide

1008                how many people were detained at Mesa Verde. Despite the

1009                dangerous conditions that the pandemic created at Mesa Verde, and

1010                despite the strain on the facility’s resources, ICE failed to reduce the

1011                density, heightening the risk of infection and straining the facility’s

1012                resources.

1013      204.      ICE’s failure to use reasonable care in supervising GEO Group,

1014         particularly given the risks created by the pandemic, actually and

1015         proximately caused Mr. Ahn’s severe mental distress and eventual suicide.

1016      205.      Plaintiff has exhausted the administrative process required by the

1017         FTCA before filing this claim.

1018      206.     Plaintiff brings this claim Individually and as Successor-in-Interest.

1019

1020     COUNT TWELVE: NEGLIGENCE FOR NONDELEGABLE DUTIES –
1021           FEDERAL TORTS CLAIMS ACT 28 U.S.C. §1346(b)
1022             Plaintiff against Defendants United States and ICE
1023
1024      207.      Even when the United States hires and delegates certain duties to an

1025         independent contractor, it may be held directly liable for breaching



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1026         nondelegable duties. See Edison, 822 F.3d at 519 (“[E]ven if it appears that

1027         the government delegated all of its duties to the independent contractor, we

1028         ask whether California law imposed any nondelegable duties on the

1029         government.”). The government retains a nondelegable duty of care to ensure

1030         a safe environment when a peculiar risk is involved. Yanez v. U.S., 63 F.3d

1031         870 (9th Cir. 1995) (holding that the federal government can be liable under

1032         the FTCA for a nondelegable duty to protect against inherently dangerous

1033         conditions in an explosives plant when it was aware of such conditions);

1034         Edison, 822 F.3d at 518 n.4. Federal detention agencies also retain a duty as

1035         landowners and as jailers to warn of hidden dangers, a duty to protect

1036         prisoners from a known hazard if knowledge alone is inadequate for prisoners

1037         to protect themselves, and a duty to develop an adequate preventative policy.

1038         Id. at 520–23. “That the United States ha[s] a duty to protect [imprisoned]

1039         Plaintiffs is further bolstered by California's recognition of a special

1040         relationship between jailers and prisoners.” Id. at 521.

1041      208.     On information and belief, ICE was the landowner of Mesa Verde at all

1042         times relevant to this complaint.

1043      209.     By detaining people at Mesa Verde, ICE acts as a jailer and also

1044         undertakes an activity that involves a peculiar risk. Detaining people, even at

1045         the best of times, is a dangerous activity because it places many people in



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1046         forced proximity, in a contained environment, where they are not free to

1047         provide for their own health and safety. The danger is even more acute during

1048         a pandemic, when congregate settings expose more people to infection and

1049         place even more strain on the facility’s staff, health care, and mental health

1050         resources. Mr. Ahn, as a detainee, could not have protected himself from the

1051         dangers of the COVID-19 pandemic, even if he had had knowledge of them.

1052      210.     ICE thus retained nondelegable duties of care to Mr. Ahn that included

1053         the duty to protect him from the known hazard of COVID-19, and the duty to

1054         develop an adequate COVID-19 prevention policy.

1055      211.     ICE breached that duty in multiple ways, including by conducting

1056         superficial and inconsistent inspections of GEO Group’s operations at Mesa

1057         Verde, by maintaining high numbers of detention that required dense living

1058         conditions, and by failing to put in place adequate COVID-19 prevention

1059         policies and protocols at the facility during the time that Mr. Ahn was

1060         detained.

1061      212.     ICE’s failure to meet its duty of reasonable care, given this peculiar

1062         risk, actually and proximately caused Mr. Ahn to suffer extreme mental illness

1063         and distress that led him to commit suicide.

1064      213.     Plaintiff has exhausted the administrative process required by the

1065         FTCA before filing this claim.



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1066      214.    Plaintiff brings this claim Individually and as Successor-in-Interest.

1067
1068       COUNT THIRTEEN: FALSE IMPRISONMENT – FEDERAL TORTS
1069                       CLAIMS ACT 28 U.S.C. §1346(b)
1070              Plaintiff against Defendants United States and ICE
1071
1072      215.     To establish false imprisonment under California law, a plaintiff must

1073         show “(1) nonconsensual, intentional confinement of a person, (2) without

1074         lawful privilege, (3) for an appreciable period of time, however brief.” See

1075         Bocanegra v. Jakubowski, 241 Cal.App.4th 848, 855, 194 Cal.Rptr.3d 327

1076         (2015) (internal quotations omitted). “A false imprisonment action may also

1077         be maintained if ‘the defendant unlawfully detains the [plaintiff] for an

1078         unreasonable period of time’ after an otherwise legal seizure or arrest.”

1079         Rhoden v. U.S., 55 F.3d 428, 430 (9th Cir. 1995) (quoting Lincoln v. Grazer,

1080         163 Cal.App.2d 758 (1958)). The government’s lawful privilege to detain

1081         immigrants is circumscribed by the Fifth Amendment, which requires,

1082         among other things, that “the government … provide conditions of

1083         reasonable health and safety to people in its custody.” Roman v. Wolf, 977

1084         F.3d 935, 943 (9th Cir. 2020). The government violates this right, and

1085         therefore acts outside the scope of its lawful privilege, when: “(i) [It] made

1086         an intentional decision with respect to the conditions under which the

1087         plaintiff was confined; (ii) those conditions put the plaintiff at substantial

1088         risk of suffering serious harm; (iii) the [government] did not take reasonable

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1089         available measures to abate that risk, even though a reasonable official in the

1090         circumstances would have appreciated the high degree of risk involved …;

1091         and (iv) by not taking such measures, the [government] caused the plaintiff’s

1092         injuries.” Gordon v. Cnty. of Orange, 888 F.3d 1118, 1125 (9th Cir. 2018).

1093      216.     ICE falsely imprisoned Mr. Ahn. The agency non-consensually and

1094         intentionally caused Mr. Ahn to be arrested and held at Mesa Verde, and

1095         then detained him for an appreciable period of time: i.e., three months, from

1096         February 2020 until he committed suicide in May 2020.

1097      217.     ICE’s imprisonment of Mr. Ahn was without lawful privilege. ICE

1098         made several intentional decisions with respect to the conditions under

1099         which Mr. Ahn was confined—including the decisions to contract GEO

1100         Group to provide medical and mental health care, and the decision to

1101         continue filling the facility with detainees during the COVID-19 pandemic.

1102         Those conditions put Mr. Ahn—who was 74 years old, suffered from

1103         multiple comorbidities and severe mental illness, and had a history of

1104         suicide attempts—at significant and obvious risk of harm. ICE did nothing

1105         to abate that risk. Among other things, ICE failed to release Mr. Ahn during

1106         the pandemic. See Mendia v. Garcia, 165 F.Supp.3d 861, 876 (N.D. Cal.

1107         2016) (finding that plaintiff was able to state a claim of false imprisonment

1108         because he “contests the validity of the immigration detainer Defendants



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1109         placed on him and argues they compelled him to remain in pretrial detention

1110         when he otherwise would not have had to do so.”). ICE also failed to

1111         implement or enforce adequate COVID-19 safety protocols, including a

1112         protocol for reducing the risk of infection that also did not put mentally ill

1113         detainees in danger; or decrease the density of detainees at Mesa Verde, to

1114         reduce both the risk of the virus spreading and the strain on GEO Group’s

1115         already limited resources.

1116      218.     The conditions at Mesa Verde—which ICE either created or

1117         sanctioned—put Mr. Ahn in a situation where he suffered acute mental

1118         distress; was terrified of deportation and serious illness or death because of

1119         deportation; went without adequate mental health resources; and remained

1120         locked in an isolation cell that was not designed for suicide prevention and

1121         was inadequately monitored, making his mental health even worse.

1122         Predictably, those conditions led directly to his extreme emotional distress

1123         and suicide.

1124      219.     Plaintiff has exhausted the administrative process required by the

1125         FTCA before filing this claim.

1126      220.    Plaintiff brings this claim Individually and as Successor-in-Interest.

1127

1128      COUNT FOURTEEN: INTENTIONAL INFLICTION OF EMOTIONAL
1129        DISTRESS – FEDERAL TORTS CLAIMS ACT 28 U.S.C. §1346(b)

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1130                    Plaintiff against Defendants United States and ICE
1131
1132      221.     Plaintiff re-alleges and incorporates by reference all allegations in the

1133         foregoing paragraphs.

1134      222.     Under California law, intentional infliction of emotional distress

1135         includes the following: “(1) extreme and outrageous conduct by the

1136         defendant with the intention of causing, or reckless disregard of the

1137         probability of causing, emotional distress; (2) the plaintiff’s suffering severe

1138         or extreme emotional distress; (3) and actual and proximate causation of the

1139         emotional distress by the defendant’s outrageous conduct.” Pardi, 389 F.3d

1140         at 852 (quoting Cervantez, 24 Cal.3d at 593) (internal quotations omitted).

1141      223.     Here, ICE’s conduct was extreme and outrageous. Mr. Ahn had

1142         multiple comorbidities that put him at risk of serious illness or death if he

1143         contracted COVID-19. He also had severe mental health issues that made

1144         him particularly susceptible to emotional distress—a fact about which ICE,

1145         which had access to all his records, was well-aware. Nonetheless, ICE

1146         continued to lock up Mr. Ahn in an unsafe facility with a high risk of

1147         contagion, under a constant threat of deadly infection or deportation. This

1148         conduct was extreme and outrageous, and, given Mr. Ahn’s conditions,

1149         recklessly disregarded the risk that it would subject him to extreme

1150         emotional distress. See, e.g., Mendia v. Garcia, 165 F.Supp.3d 861, 879



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1151         (N.D. Cal. 2016) (Immigrant detainee who alleges that ICE “agents’ threat

1152         of deportation combined with [his] imprisonment under the detainer state

1153         plausible facts to support an intentional infliction of emotional distress

1154         claim.”); Plascencia v. United States, No. EDCV 17-02515 JGB (SPx), 2018

1155         U.S. Dist. LEXIS 229246, at *27-32 (C.D. Cal. May 25, 2018) (finding a

1156         plausible IIED claim at the motion to dismiss stage when ICE agents

1157         threatened to deport her, finding that these statements were extreme as a

1158         matter of law).

1159      224.     ICE’s conduct was the actual and proximate cause of Mr. Ahn’s

1160         emotional distress—which was so severe that no reasonable person could be

1161         expected to endure it. Indeed, Mr. Ahn could not endure his distress, and

1162         ultimately committed suicide.

1163      225.     Plaintiff has exhausted the administrative process required by the

1164         FTCA before filing this claim.

1165      226.    Plaintiff brings this claim Individually and as Successor-in-Interest.

1166

1167                                 REQUEST FOR RELIEF
1168
1169
1170      227.    Enter judgment in favor of Plaintiff and against Defendants.

1171      228.    Enter an order declaring Defendants actions to be unlawful.




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1172      229.    Award Plaintiff compensatory and punitive damages in an amount to

1173         be determined at trial.

1174      230.    Award Plaintiff reasonable attorney’s fees and costs.

1175      231.    Award any other relief this Court deems just, equitable, and proper.

1176

1177   Date: March 17, 2023

1178
1179                                                             Submitted by Sylvia Ahn
1180                                       on behalf of the Estate of Choung Woong Ahn
1181                                                                     By her Counsel,
1182
1183                                                                      /s/ Sophie Angelis
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